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 6
 7                                      UNITED STATES DISTRICT COURT
 8                                  NORTHERN DISTRICT OF CALIFORNIA
 9
     BOARD OF TRUSTEES OF THE                                       Case No. 3:24-cv-01699-VC
10   LABORERS HEALTH AND WELFARE
11   TRUST FUND FOR NORTHERN                                        DEFENDANT HILLSIDE
     CALIFORNIA; BOARD OF TRUSTEES OF                               DRILLING, INC.’S ANSWER TO
12   THE LABORERS VACATION-HOLIDAY                                  FIRST AMENDED COMPLAINT
     TRUST FUND FOR NORTHERN
13   CALIFORNIA; BOARD OF TRUSTEES OF
14   THE LABORERS PENSION TRUST FUND
     FOR NORTHERN CALIFORNIA; and
15   BOARD OF TRUSTEES OF THE
     LABORERS TRAINING AND RETRAINING
16   TRUST FUND FOR NORTHERN
17   CALIFORNIA,

18                                Plaintiffs,
              vs.
19
20    HILLSIDE DRILLING, INC., a California
      corporation,
21
                                   Defendant.
22
23
24            Defendant Hillside Drilling, Inc. (“Defendant”) answers the allegations of Plaintiffs’ First
25   Amended Complaint (“Complaint”) as follows:
26            1.       Defendant admits the allegations contained in the first two sentences of paragraph
27   1 of the Complaint. Defendant denies the allegations contained in the third sentence in paragraph
28                                                            -1-
     ____________________________________________________________________________________________________________________
                                                                                                   Case No. 3:24-cv-01699-VC

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 1   1 of the Complaint.
 2            2.       Defendant admits the allegations contained in paragraph 2 of the Complaint.
 3            3.       Defendant admits the allegations contained in the first sentence in paragraph 3 of
 4   the Complaint. Defendant lacks knowledge or information sufficient to form a belief about the
 5   truth of the remaining allegations in paragraph 3 of the Complaint, and therefore denies the same.
 6            4.       Defendant lacks knowledge or information sufficient to form a belief about the truth
 7   of the allegations in paragraph 4 of the Complaint, and therefore denies the same.
 8            5.       Defendant lacks knowledge or information sufficient to form a belief about the truth
 9   of the allegations in paragraph 5 of the Complaint, and therefore denies the same.
10            6.       Defendant admits the allegations contained in the first sentence in paragraph 6 of
11   the Complaint. Defendant lacks knowledge or information sufficient to form a belief about the
12   truth of the remaining allegations in paragraph 6 of the Complaint, and therefore denies the same.
13            7.       Defendant admits the allegations contained in the first sentence in paragraph 7 of
14   the Complaint. Defendant lacks knowledge or information sufficient to form a belief about the
15   truth of the remaining allegations in paragraph 7 of the Complaint, and therefore denies the same.
16            8.       Defendant repeats and re-alleges all of its responses in all preceding paragraphs of
17   its Answer as if fully set forth at length herein.
18            9.       Defendant admits the allegations contained in paragraph 9 of the Complaint.
19            10.      Defendant admits the allegations contained in paragraph 10 of the Complaint.
20            11.      Defendant admits the allegations contained in the first two sentences in paragraph
21   11 of the Complaint. Defendant lacks knowledge or information sufficient to form a belief about
22   the truth of the remaining allegations in paragraph 11 of the Complaint, and therefore denies the
23   same.
24            12.      Defendant denies the allegations contained in paragraph 12 of the Complaint.
25            13.      Defendant denies the allegations contained in the first sentence in paragraph 13 of
26   the Complaint. Defendant admits the allegations contained in the last sentence in paragraph 13 of
27   the Complaint. Defendant lacks knowledge or information sufficient to form a belief about the
28                                                            -2-
     ____________________________________________________________________________________________________________________
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 1   truth of the remaining allegations in paragraph 13 of the Complaint, and therefore denies the same.
 2            14.      Defendant lacks knowledge or information sufficient to form a belief about the truth
 3   of the allegations in paragraph 14 of the Complaint, and therefore denies the same.
 4            15.      Defendant denies the allegations contained in paragraph 15 of the Complaint.
 5            16.      Defendant denies the allegations contained in paragraph 16 of the Complaint.
 6            17.      Defendant denies the allegations contained in paragraph 17 of the Complaint.
 7            18.      Defendant denies the allegations contained in paragraph 18 of the Complaint.
 8            19.      Defendant repeats and re-alleges all of its responses in all preceding paragraphs of
 9   its Answer as if fully set forth at length herein.
10            20.      Defendant lacks knowledge or information sufficient to form a belief about the truth
11   of the allegations in paragraph 20 of the complaint, and therefore denies the same.
12            21.      Defendant denies the allegations contained in the first sentence in paragraph 21 of
13   the Complaint. Defendant admits the allegations contained in the last sentence in paragraph 21 of
14   the Complaint. Defendant lacks knowledge or information sufficient to form a belief about the
15   truth of the remaining allegations in paragraph 21 of the Complaint, and therefore denies the same.
16            22.      Defendant denies the allegations contained in paragraph 22 of the Complaint.
17            23.      Defendant denies the allegations contained in paragraph 23 of the Complaint.
18            24.      Defendant denies the allegations contained in paragraph 24 of the Complaint.
19            25.      Defendant denies that Plaintiffs are entitled to any relief described in the Relief
20   Requested.
21                                           AFFIRMATIVE DEFENSES
22                                       FIRST AFFIRMATIVE DEFENSE
23            Plaintiffs are barred from relief by the applicable statutes of limitation.
24                                     SECOND AFFIRMATIVE DEFENSE
25            The Complaint is barred, or any recovery should be reduced, because of Plaintiffs’ own
26   neglect and fault in connection with the matters alleged.
27   ///
28                                                            -3-
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 1                                      THIRD AFFIRMATIVE DEFENSE
 2            The Complaint is barred, either in whole or in part, by Plaintiffs’ failure to mitigate their
 3   alleged damages.
 4                                     FOURTH AFFIRMATIVE DEFENSE
 5            The Complaint is barred by the doctrine of waiver and consent.
 6                                       FIFTH AFFIRMATIVE DEFENSE
 7            The Complaint is barred by the doctrine of laches.
 8                                       SIXTH AFFIRMATIVE DEFENSE
 9            The Complaint is barred by the doctrine of estoppel.
10                                    SEVENTH AFFIRMATIVE DEFENSE
11            The Complaint is barred by collateral estoppel and/or the doctrine of res judicata.
12                                     EIGHTH AFFIRMATIVE DEFENSE
13            Defendant acted in good faith and did not directly or indirectly perform any act whatsoever
14   which would constitute a breach of any duty owed to Plaintiffs.
15                                      NINTH AFFIRMATIVE DEFENSE
16            Plaintiffs are not entitled to recover liquidated damages, because Defendant at all times
17   acted in good faith and with reasonable grounds.
18                                      TENTH AFFIRMATIVE DEFENSE
19            If Defendant was subject to any express or implied agreements, any failure of Defendant
20   to perform was excused by Plaintiffs’ failure to perform and/or breach of the terms and conditions
21   of such agreements.
22                                   ELEVENTH AFFIRMATIVE DEFENSE
23            To the extent that Plaintiffs are entitled to damages (which is expressly denied), Defendant

24   is entitled, under the equitable doctrines of setoff and recoupment, to an offset for any overpayment

25   or other consideration previously provided to Plaintiffs.

26                                    TWELFTH AFFIRMATIVE DEFENSE

27            Plaintiffs’ claims are barred by the doctrine of accord and satisfaction.

28                                                            -4-
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